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      telteti ^tatesi liisitrict Court
                                    FOR THE
               NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN FRANCISCO



                        UNITED STATES OF AMERICA,                        JUL 11 2019
                                      V                                 SUSAN Y. SOONG
                                                                    CLERK, U.S. DISTRICT COURT
                                                                   NORTH DISTRICT OF CALIFORNIA
                           FRANCISCO PADILLA


                                                                       %

                                                 CR
                             DEFENDANT(S).                                               WHO
                            INDICTMENT

       21 U.S.C. § 841(a)(1) and (b)(1)(C) - Distribution of Heroin;
                 21 U.S.C. § 853 - Forfeiture Allegation




         A true bill.



                                                         Foreman


         Filed in open court this      If       day of



               ^NOBAILWARRAMT
               Tl^ ]fVr-
                                            Bail, $
           THOMAS S. HIXSON
           UWrED STATES MAOBTBAIIS JUUOfc
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